Case: 1:23-cv-14087 Document #: 7-2 Filed: 12/21/23 Page 1 of 1 PagelD #:76

From: Adrianna Micciche <amicciche@elitepsi.com>

Date: Tuesday, December 12, 2023 at 12:23 PM

To: Kelly May <kellymay@kreamerlawgroup.com>

Cc: John Kreamer <jckreamer@kreamerlawgroup.com>

Subject: Re: Fazlovic v. DD Logistice, Inc. and Dejan Deriknojic -n 1:23-CCV-
14087- Service on Defendants

679 E.S. Frontage

Thu . : Dejan not in the office at time
42/07/2023 11:02 Attempt ee NO of attempt.
679 E.S. Frontage ; ;
Wed : Dejan not in the office at time
121062023 712% Altempt =n of attempt.
679 E.S. Frontage . . .
Mon : Dejan not in the office at time
42/04/2023 10:42 Attempt add oe NO of attempt.
. 679 E.S. Frontage ‘ ;
Fri = ; Dejan not in the office at time
42/01/2023 08:15 Attempt ee NO of aitemat.
Th 679 E.S. Frontage There wasn't anyone in the
1 Pae02 13:06 Attempt Road Bolingbrook NO office and | wasn't able to get
iL. 60440 anyone to answer my calls.
6403 South Garfield
, Sat Avenue No answer at front door.
* 42/09/2023 14:07 Attempt Willowbrook iL =“ NO Packages were still on porch.
60527
6403 South-Garield
, Sat Avenue No-answerattront door.
J 42/09/2023 44:07 Attempt Willowbrook-i NO Pact tit '
6403 South Garfield
_ Sat . Avenue No answer at front door.
* 42/09/2023 —_ Sey Willowbrook IL _ Packages were still on porch.
60527
Fri tae = No answer at front door. No
J 20:02 Attempt NO vehicles visible. Two
12/08/2023 Willowbrook IL
60527 packages on front porch.

From: Kelly May <kellymay@kreamerlawgroup.com>
Date: Tuesday, December 12, 2023 at 11:19 AM EXHIBIT

To: Adrianna Micciche <amicciche@elitepsi.com> j

